Case 23-30672-5-wak             Doc 35-1 Filed 04/18/24 Entered 04/18/24 12:28:07             Desc
                                 Certificate of Service Page 1 of 2



UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
-----------------------------------------------------x

In re:                                                   Case No.: 23-30672-5-wak

Joseph A. DiMino, Jr.,                                   Chapter 13

                          Debtor.                        Hon. Wendy A. Kinsella, C.U.S.B.J.

----------------------------------------------------x

                                      CERTIFICATE OF SERVICE

         I HEREBY CERTIFY under penalty of perjury that on April 18, 2024, I caused to be

electronically filed the foregoing Amended Notice of Hearing to File Proof of Claim For Post-Petition

Mortgage Loan Escrow Deficiency with the Clerk of Court by using the CM/ECF system, and a true

and correct copy has been served via CM/ECF and United States Postal Service First Class Mail upon

the following parties:

Neil Tarak Bhatt, Esq.
Bhatt Law Firm
536 State Street
Ogdensburg, NY 13669

Joseph A. DiMino, Jr
318 Stone Street
Watertown, NY 13601

Mark W. Swimelar-Trustee
250 South Clinton Street
Suite 203
Syracuse, NY 13202
Case 23-30672-5-wak     Doc 35-1 Filed 04/18/24 Entered 04/18/24 12:28:07   Desc
                         Certificate of Service Page 2 of 2



United States Trustee
10 Broad Street
Room 105
Utica, NY 13501


Dated: Westbury, New York
       April 17, 2024
                                       By: /s/ Kevin R. Toole_____
                                       Kevin R. Toole, Esq.
                                       Email: ktoole@raslg.com
